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sMITH & NEPHEW, INC., ROB§.HI. §

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v. Civil Action No. 02-2455-B

FEDERAL INSURANCE CO.,

Defendant.

 

ORDER l\/IODIFYING RULE lé(b) SCHEDULING ORDER

 

On unopposed motion by plaintiff Smith & Nephevv, Inc., presenting
adequate cause, the Amended Rule l6(b) Scheduling Order previously entered in
this action on November 23, 2004 (Doc. 57), as previously modified on l\/lay 3,
2005 (Doc. 79), is amended With respect to the following pre-trial stage deadlines,
as here Stated:

Plaintiff"s and defendant’s expert disclosure (Rule 26): July 8, 2005

Expert depositions: August 5, 2005

Filing dispositive motions: August 5, 20054%`

All other provisions of said Scheduling Order remain unchanged

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dated

NIEL BREEN
Ai) sTA'rEs DisrRiCT JUDGE

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Honorable J. Breen
US DISTRICT COURT

